A                                                                                                                 STATEMENT


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C         122
                                                                   America First Federal Credit Union · 1-800-999-3961 · americafirst.com
                                                                                                        P.O. Box 9199, Ogden, UT 84409




                                                                                       Statement        Date:       February              01, 2020
          #BWNCHFQ
          #141CANDY00726625#                                                           Account      Number:                  614-1
          CANDY WILLIAMS
          1898 E RICH WAY
          COTTONWOOD HTS UT 84121


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                                              fyi         for your information

  Transfer your high-interest balances to a low-rate America First Visa® and claim your 3% cash-back
        bonus! Plus, you'll benefit from one convenient payment, no annual fees, and exclusive
                   perks & features. To apply and learn more, visit americafirst.com.


        A Summary of Your Accounts                                           A Summary of Your Loans
                          Ending         2020 Dividends                                Ending          Total             Next                          2020
                          Balance                                                      Balance       Amount Due          Payment                     Interest

 Share Savings          9,284.38                  0.69    Visa Classic                   0.00              0.00                                        0.00
 Checking              48,615.75                  2.80
 Total:                57,900.13                  3.49




Share Savings
                                                          Statement Period: January 01, 2020 - February 01, 2020

Post    Effective                                                                                           Transaction                         Account
Date
____    _________
          Date      _________________________________________________________
                    Transaction Description                                                                 ___________
                                                                                                               Amount                           Balance
                                                                                                                                                _______
                    BEGINNING BALANCE                                                                                                            5,033.72
01/02      01/03    AUTOMATIC DEPOSIT, PRIMARY RESIDEN PAYROLL    PPD                                                   50.00                    5,083.72
01/03               MOBILE BANKING SHARE TRANSFER FROM CHECKING                                                      2,300.00                    7,383.72
01/17               MOBILE BANKING SHARE TRANSFER FROM CHECKING                                                        900.00                    8,283.72
01/30               MOBILE BANKING SHARE TRANSFER FROM CHECKING                                                      1,000.00                    9,283.72
01/31      02/01    DIVIDEND EARNED FOR PERIOD OF 01/01/2020 THROUGH 01/31/2020
                      ANNUAL PERCENTAGE YIELD EARNED IS   0.10%                                                               .66                9,284.38
                    ENDING BALANCE                                                                                                               9,284.38

Checking
                                                          Statement Period: January 01, 2020 - February 01, 2020

Post    Effective                                                                                Check      Transaction                         Account
Date
____    _________
           Date     Transaction
                    __________________________________________________
                                 Description                                                     Number
                                                                                                 ______     ___________
                                                                                                               Amount                           Balance
                                                                                                                                                _______
                    BEGINNING BALANCE                                                                                                        108,671.54
01/02      01/01    MOBILE BANKING FUNDS TRANSFER TO VISA CREDIT                                                          .91-               108,670.63
01/02      01/03    AUTOMATIC DEPOSIT, PRIMARY RESIDEN PAYROLL     PPD                                               2,397.51                111,068.14
01/02               AUTOMATIC WITHDRAWAL, GAP CC          GAP EPAY     WEB(S     )                                     102.99-               110,965.15
01/02               AUTOMATIC WITHDRAWAL, PAYPAL          INST XFER WEB(S        )                                   1,129.73-               109,835.42
01/02               AUTOMATIC WITHDRAWAL, HSN             HSN EPAY     WEB(S     )                                   1,548.65-               108,286.77
01/02               AUTOMATIC WITHDRAWAL, OLD NAVY VISA   OLDN EPAY WEB(S        )                                   1,607.84-               106,678.93
01/02               AUTOMATIC WITHDRAWAL, COMENITY PAY OH WEB PYMT     WEB(S     )                                   2,017.46-               104,661.47
01/02               AUTOMATIC WITHDRAWAL, VENMO           PAYMENT      WEB(S     )                                      40.00-               104,621.47
01/02      12/31    AUTOMATIC WITHDRAWAL, CREDIT ONE BANK PAYMENT      WEB(S     )                                     374.45-               104,247.02




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A                                                                                                       STATEMENT


B
C       CANDY WILLIAMS


Checking, Continued
                                                         Account Number - 2672614-1    February 01, 2020      Page -           2 of 4



                                                          Statement Period: January 01, 2020 - February 01, 2020

Post     Effective                                                                       Check      Transaction                        Account
Date
____     _________
            Date         Transaction
                         __________________________________________________
                                      Description                                        Number
                                                                                         ______     ___________
                                                                                                       Amount                          Balance
                                                                                                                                       _______
01/02       01/01        AUTOMATIC WITHDRAWAL, FPB CR CARD      INTERNET     WEB(S )                          476.37-                103,770.65
01/02       01/01        AUTOMATIC WITHDRAWAL, FPB CR CARD      INTERNET     WEB(S )                          658.80-                103,111.85
01/02                    AUTOMATIC WITHDRAWAL, MASTERCARD       PAYMENT      WEB(S )                          728.26-                102,383.59
01/02       12/31        AUTOMATIC WITHDRAWAL, CREDIT ONE BANK PAYMENT       WEB(S )                          812.42-                101,571.17
01/02       01/01        AUTOMATIC WITHDRAWAL, FPB CR CARD      INTERNET     WEB(S )                          935.04-                100,636.13
01/02                    AUTOMATIC WITHDRAWAL, MERRICK BANK CORONLINEPYMT WEB(S )                             991.38-                 99,644.75
01/02       12/31        AUTOMATIC WITHDRAWAL, CREDIT ONE BANK PAYMENT       WEB(S )                        1,322.06-                 98,322.69
01/02       12/31        AUTOMATIC WITHDRAWAL, CARDMEMBER SERV WEB PYMT      WEB(S )                        1,350.78-                 96,971.91
01/02       12/31        AUTOMATIC WITHDRAWAL, CREDIT ONE BANK PAYMENT       WEB(S )                        1,449.82-                 95,522.09
01/02                    AUTOMATIC WITHDRAWAL, PAYPAL           INST XFER WEB(S )                           1,567.09-                 93,955.00
01/02                    AUTOMATIC WITHDRAWAL, CHASE CREDIT CRDEPAY          WEB(S )                        2,344.48-                 91,610.52
01/02                    AUTOMATIC WITHDRAWAL, CHEVRON CC       CHVTX EPAY WEB(S )                          2,351.89-                 89,258.63
01/02       12/31        AUTOMATIC WITHDRAWAL, CAPITAL ONE      ONLINE PMT WEB(S )                          2,732.25-                 86,526.38
01/02                    AUTOMATIC WITHDRAWAL, BARCLAYCARD US CREDITCARD WEB(S )                            2,801.28-                 83,725.10
01/02                    CHECK                                                               117            3,000.00-                 80,725.10
01/03                    AUTOMATIC WITHDRAWAL, COMENITY PAY CP WEB PYMT      WEB(S )                          184.59-                 80,540.51
01/03                    AUTOMATIC WITHDRAWAL, COMENITY PAY IL WEB PYMT      WEB(S )                          500.98-                 80,039.53
01/03                    AUTOMATIC WITHDRAWAL, COMENITY PAY VI WEB PYMT      WEB(S )                        2,711.95-                 77,327.58
01/03                    MOBILE BANKING FUNDS TRANSFER TO SHARE SAVINGS                                     2,300.00-                 75,027.58
01/03       01/02        AUTOMATIC WITHDRAWAL, CAPITAL ONE      ONLINE PMT WEB(S )                             50.00-                 74,977.58
01/04       01/03        VISA - 01/02 PALM BEACH TAN SLC801- EF 214-373-0202 TX 00                              7.88-                 74,969.70
01/04       01/03        VISA - 01/01 CENTURY THEATRES 431 SALT LAKE CTY UT 001418                             32.88-                 74,936.82
01/04       01/03        VISA - 01/02 MISTER CAR WASH #531 COTTONWOOD HE UT 002874                             35.38-                 74,901.44
01/06                    AUTOMATIC WITHDRAWAL, PAYPAL           INST XFER WEB(S )                             100.00-                 74,801.44
01/07                    AUTOMATIC WITHDRAWAL, COMENITY PAY OH WEB PYMT      WEB(S )                          306.90-                 74,494.54
01/09       01/08        VISA - 01/06 CHICK-FIL-A #02360 MIDVALE UT 006740                                     31.34-                 74,463.20
01/09       01/08        ZELLE TO: GLACIER BANK                                                               200.00-                 74,263.20
01/09                    POINT OF SALE PURCHASE
                           US UT HOLLADAY, SPROUTS FARMERS MKT# 1785 E MURRAY                                 72.60-                  74,190.60
01/09                    OFFICIAL CHECK 047142857 TO DUBS AUTO                                            17,400.00-                  56,790.60
01/10       01/09        ZELLE TO: GLACIER BANK                                                            2,000.00-                  54,790.60
01/11       01/10        VISA - 01/09 SQ *MOUNTAIN VIEW M SALT LAKE CIT UT 009447                            134.00-                  54,656.60
01/13       01/12        POINT OF SALE PURCHASE US UT MURRAY, COSTCO WHSE #0764                               55.15-                  54,601.45
01/13                    AUTOMATIC DEPOSIT, VENMO            CASHOUT     PPD                                  15.00                   54,616.45
01/13                    AUTOMATIC DEPOSIT, VENMO            CASHOUT     PPD                                  20.00                   54,636.45
01/13                    AUTOMATIC WITHDRAWAL, PAYPAL           INST XFER WEB(S )                            159.80-                  54,476.65
01/13                    AUTOMATIC WITHDRAWAL, WELLS FARGO CARDCCPYMT        WEB(S )                         226.08-                  54,250.57
01/13                    AUTOMATIC WITHDRAWAL, CHASE CREDIT CRDEPAY          WEB(S )                       1,044.74-                  53,205.83
01/13                    AUTOMATIC WITHDRAWAL, AMEX EPAYMENT    ACH PMT      WEB(S )                       2,448.29-                  50,757.54
01/14                    POINT OF SALE PURCHASE
                           US UT SALT LAKE CIT, DAN'S FOODS #05 2029 E-7000 S                                  52.87-                 50,704.67
01/15       01/14        AUTOMATIC WITHDRAWAL, CREDIT ONE BANK PAYMENT       WEB(S )                           25.04-                 50,679.63
01/15                    AUTOMATIC WITHDRAWAL, VENMO            PAYMENT      WEB(S )                          500.00-                 50,179.63
01/15                    CHECK                                                               120              236.39-                 49,943.24
01/15                    CHECK                                                               119              980.19-                 48,963.05
01/16       01/17        AUTOMATIC DEPOSIT, PRIMARY RESIDEN PAYROLL      PPD                                1,285.03                  50,248.08
01/17       01/16        VISA - 01/15 MCDONALD'S F22179 SALT LAKE CIT UT 015701                                17.83-                 50,230.25
01/17                    MOBILE BANKING FUNDS TRANSFER TO SHARE SAVINGS                                       900.00-                 49,330.25
01/18                    POINT OF SALE PURCHASE
                           US UT MIDVALE, HOME AGAIN 2 HOME AGAIN 2                                              19.31-               49,310.94
01/21       01/19        VISA - 01/16 CHICK-FIL-A #02360 MIDVALE UT 016610                                        3.41-               49,307.53
01/21       01/20        VISA - 01/18 AUNT ELSIES TRINKETS & TR WEST JORDAN UT 018                               12.87-               49,294.66
01/21       01/19        VISA - 01/17 CENTURY THEATRES 487 SANDY UT 017459                                       12.92-               49,281.74
01/21                    AUTOMATIC WITHDRAWAL, CHASE CREDIT CRDEPAY          WEB(S )                            171.04-               49,110.70
01/22       01/21        AUTOMATIC WITHDRAWAL, FPB CR CARD      INTERNET     WEB(S )                             12.00-               49,098.70
01/22       01/21        AUTOMATIC WITHDRAWAL, FPB CR CARD      INTERNET     WEB(S )                             12.00-               49,086.70
01/23       01/22        VISA - 01/21 SPDPY*CONTFINCO NEWARK DE 020132                                           68.00-               49,018.70
01/23                    AUTOMATIC WITHDRAWAL, COMENITY PAY IL WEB PYMT      WEB(S )                            249.02-               48,769.68
01/23                    AUTOMATIC WITHDRAWAL, COMENITY PAY VI WEB PYMT      WEB(S )                            289.83-               48,479.85
01/24       01/23        VISA - 01/21 CHICK-FIL-A #02360 MIDVALE UT 021254                                       21.91-               48,457.94
01/27       01/26        POINT OF SALE PURCHASE US UT SANDY, NORDSTROM #0071 10379 S                            176.75-               48,281.19




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A                                                                                                                          STATEMENT


B
C    CANDY WILLIAMS                                           Account Number - 2672614-1            February 01, 2020

 ** Balance Subject to Interest Rate: The balance used to compute interest is the unpaid balance each day after
                                                                                                                                Page -           4 of 4



payments and credits to that balance have been subtracted and any additions to the balance have been made.




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